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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

 UNITED STATES OF AMERICA,                                                      CONSENT TO PROCEED BY VIDEO OR
                                                                                TELE CONFERENCE
                             -against-
                                                                                   -CR-    ( )( )

 Junior Rafeael Reynoso Ortega

                                                 Defendant(s).
-----------------------------------------------------------------X
            Junior Rafael Reynoso Ortega
Defendant ______________________________________ hereby voluntarily consents to
participate in the following proceeding via ___
                                            x videoconferencing or ___ teleconferencing:


_x__     Initial Appearance Before a Judicial Officer

___      Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

___      Bail/Detention Hearing

___      Conference Before a Judicial Officer



_/s/Junior Rafael Reynoso Ortega                                     _________________________________
Defendant’s Signature                                                Defendant’s Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)
Junior Rafael Reynoso Ortega
_____________________________                                        _Patrick Brackley_______________
Print Defendant’s Name                                               Print Counsel’s Name


This proceeding was conducted by reliable video or telephone conferencing technology.

10/19/2020
___________________                                                  _________________________________
Date                                                                 U.S. District Judge/U.S. Magistrate Judge
